Kathryn A. Ellis                                      The Honorable:                                      Brian D. Lynch
5506 6th Ave S                                        Chapter 7
Suite 207                                             Location:                                                  Tacoma
Seattle, WA 98108                                     Hearing Date:                                                  / /
(206) 682-5002                                        Hearing Time:
          Chapter 7 Trustee                           Response Date:                                                 / /



                                   UNITED STATES BANKRUPTCY COURT
                                   WESTERN DISTRICT OF WASHINGTON


             In re: MANG JR., DICKSON USIM                                §   Case No. 15-40334-BDL
                                                                          §
                                                                          §
         Debtor(s)                                                        §
              CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
       REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                      AND APPLICATION TO BE DISCHARGED (TDR)

               Kathryn A. Ellis, chapter 7 trustee, submits this Final Account,
      Certification that the Estate has been Fully Administered and Application to be Discharged.

               1) All funds on hand have been distributed in accordance with the Trustee's Final Report
      and, if applicable, any order of the Court modifying the Final Report. The case is fully
      administered and all assets and funds which have come under the trustee's control in this case
      have been properly accounted for as provided by law. The trustee hereby requests to be
      discharged from further duties as a trustee.

              2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
      discharged without payment, and expenses of administration is provided below:


      Assets Abandoned: $34,000.00                          Assets Exempt: $15,600.00
      (without deducting any secured claims)
      Total Distribution to Claimants:$251,359.84          Claims Discharged
                                                           Without Payment: $23,092.67

      Total Expenses of Administration:$31,217.77


               3) Total gross receipts of $    282,577.61 (see Exhibit 1 ), minus funds paid to the debtor
       and third parties of $       0.00    (see Exhibit 2 ), yielded net receipts of $282,577.61
      from the liquidation of the property of the estate, which was distributed as follows:




     UST Form 101-7-TDR (10/1/2010)




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                                        CLAIMS              CLAIMS              CLAIMS            CLAIMS
                                      SCHEDULED            ASSERTED            ALLOWED             PAID


 SECURED CLAIMS
 (from Exhibit 3)                         $231,888.00        $241,359.83         $241,359.83      $241,359.83

 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                            0.00          43,709.48          31,217.77         31,217.77

   PRIOR CHAPTER
   ADMIN. FEES AND
   CHARGES (fromExhibit 5 )                      0.00               0.00                0.00                0.00
   PRIORITY UNSECURED
   CLAIMS (from Exhibit 6 )                 11,437.00               0.00                0.00                0.00
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                     21,161.00          17,391.68           17,391.68        10,000.01

                                          $264,486.00        $302,460.99         $289,969.28      $282,577.61
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on January 29, 2015.
  The case was pending for 36 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 02/12/2018                 By: /s/Kathryn A. Ellis
                                        Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




UST Form 101-7-TDR (10/1/2010)




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                                                                 EXHIBITS TO
                                                               FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                                          UNIFORM                                   $ AMOUNT
               DESCRIPTION
                                                                                         TRAN. CODE 1                               RECEIVED
     residence                                                                           1110-000                                    282,000.00

     buyer's credit toward property taxes                                                1290-000                                       577.61


    TOTAL GROSS RECEIPTS                                                                                                            $282,577.61

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                          UNIFORM                                   $ AMOUNT
        PAYEE                                      DESCRIPTION
                                                                                         TRAN. CODE                                    PAID
                                                                  None

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                                  $0.00
    PARTIES

EXHIBIT 3 SECURED CLAIMS


                                                      UNIFORM          CLAIMS
       CLAIM                                                          SCHEDULED               CLAIMS                  CLAIMS              CLAIMS
        NO.               CLAIMANT                     TRAN.           (from Form            ASSERTED                ALLOWED               PAID
                                                       CODE                6D)
          S1      Wells Fargo Home Mortgage            4110-000             231,888.00           240,295.94            240,295.94          240,295.94

          S2      Madrona Estates HOA                  4120-000            N/A                        713.89               713.89                 713.89

          S3      City of Lacey                        4120-000            N/A                        350.00               350.00                 350.00


    TOTAL SECURED CLAIMS                                                   $231,888.00          $241,359.83           $241,359.83         $241,359.83



EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                                      UNIFORM
        PAYEE                                                          CLAIMS                 CLAIMS                  CLAIMS              CLAIMS
                                                       TRAN.
                                                                      SCHEDULED              ASSERTED                ALLOWED               PAID
                                                       CODE
 Trustee Compensation - Kathryn A. Ellis                    2100-000             N/A                17,378.88            4,887.17            4,887.17

 Trustee Expenses - Kathryn A. Ellis                        2200-000             N/A                  112.82               112.82                 112.82




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 Other - closing costs                        2500-000            N/A              2,413.18       2,413.18        2,413.18

 Other - Madrona Estates HOA                  2500-000            N/A                 405.00        405.00         405.00

 Other - excise tax                           2820-000            N/A              5,029.60       5,029.60        5,029.60

 Other - Dickson Mang Jr. and Devyna          2990-000            N/A              2,350.00       2,350.00        2,350.00
 Aguon-Mang
 Other - Rich Kim                             3510-000            N/A            16,020.00       16,020.00       16,020.00

 TOTAL CHAPTER 7 ADMIN. FEES                                N/A                 $43,709.48      $31,217.77      $31,217.77
 AND CHARGES


EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                         UNIFORM
    PAYEE                                               CLAIMS              CLAIMS              CLAIMS         CLAIMS
                                          TRAN.
                                                       SCHEDULED           ASSERTED            ALLOWED          PAID
                                          CODE
                                                     None

 TOTAL PRIOR CHAPTER ADMIN.                                 N/A                       $0.00         $0.00              $0.00
 FEES AND CHARGES


EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                         UNIFORM        CLAIMS              CLAIMS
   CLAIM                                               SCHEDULED           ASSERTED             CLAIMS         CLAIMS
    NO.           CLAIMANT                TRAN.          (from Form       (from Proofs of      ALLOWED          PAID
                                          CODE               6E)               Claim)
 NOTFILED   Internal Revenue Service -    5200-000            11,437.00         N/A                 N/A                 0.00
            CIO
 TOTAL PRIORITY UNSECURED                                    $11,437.00               $0.00         $0.00              $0.00
 CLAIMS


EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                         UNIFORM        CLAIMS              CLAIMS
   CLAIM                                               SCHEDULED           ASSERTED             CLAIMS         CLAIMS
    NO.           CLAIMANT                TRAN.          (from Form       (from Proofs of      ALLOWED          PAID
                                          CODE               6F)               Claim)
      1     Capital One Bank (USA) NA     7100-000             1,923.00            1,923.04       1,923.04        1,923.04

      2     Boeing Employees Credit       7100-000             1,830.00            1,874.65       1,874.65        1,874.65
            Union
      3     Alaska USA Federal Credit     7200-000            13,144.00          13,593.99       13,593.99        6,202.32
            Union
 NOTFILED   Bank of America               7100-000             4,264.00         N/A                 N/A                 0.00

 TOTAL GENERAL UNSECURED                                     $21,161.00         $17,391.68      $17,391.68      $10,000.01
 CLAIMS




UST Form 101-7-TDR (10/1/2010)


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                                                                                                                                                                            Exhibit 8


                                                                                   Form 1                                                                                   Page: 1

                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 15-40334-BDL                                                                  Trustee:        (670270)     Kathryn A. Ellis
Case Name:           MANG JR., DICKSON USIM                                                Filed (f) or Converted (c): 01/29/15 (f)
                                                                                           §341(a) Meeting Date:        03/03/15
Period Ending: 02/12/18                                                                    Claims Bar Date:             09/26/17

                                1                                        2                            3                       4                    5                    6

                     Asset Description                               Petition/               Estimated Net Value         Property             Sale/Funds           Asset Fully
          (Scheduled And Unscheduled (u) Property)                 Unscheduled          (Value Determined By Trustee,   Abandoned             Received by       Administered (FA)/
                                                                      Values               Less Liens, Exemptions,      OA=§554(a)             the Estate        Gross Value of
Ref. #                                                                                         and Other Costs)                                                 Remaining Assets

 1        residence                                                     240,000.00                        8,012.00                                282,000.00                     FA

 2        BECU checking and savings accounts                                  300.00                       300.00                                        0.00                    FA

 3        misc. household goods and furnishings                              2,000.00                         0.00                                       0.00                    FA

 4        clothing                                                            500.00                          0.00                                       0.00                    FA

 5        camping gear                                                        200.00                          0.00                                       0.00                    FA

 6        eliptical treadmill, home gym                                       400.00                          0.00                                       0.00                    FA

 7        401k                                                               4,000.00                         0.00                                       0.00                    FA

 8        2014 federal income tax refund                                     3,000.00                         0.00                                       0.00                    FA

 9        2012 Chevrolet Volt (leased)                                   18,000.00                     18,000.00                                         0.00                    FA

10        2012 Honda Shadow                                                  5,500.00                         0.00                                       0.00                    FA

11        misc. homeowner tools & equipment                                   100.00                       100.00                                        0.00                    FA

12        buyer's credit toward property taxes (u)                            577.61                       577.61                                      577.61                    FA
           paid by lender outside of closing

 12      Assets       Totals (Excluding unknown values)                $274,577.61                    $26,989.61                                $282,577.61                   $0.00



      Major Activities Affecting Case Closing:

      Initial Projected Date Of Final Report (TFR):       October 31, 2016                   Current Projected Date Of Final Report (TFR):       December 13, 2017 (Actual)




                                                                                                                                             Printed: 02/12/2018 09:58 AM     V.13.30

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                                                                                                                                                                                     Exhibit 9


                                                                                       Form 2                                                                                         Page: 1

                                                  Cash Receipts And Disbursements Record
Case Number:         15-40334-BDL                                                                       Trustee:            Kathryn A. Ellis (670270)
Case Name:           MANG JR., DICKSON USIM                                                             Bank Name:          Rabobank, N.A.
                                                                                                        Account:            ******6966 - Checking Account
Taxpayer ID #: **-***6887                                                                               Blanket Bond:       $63,926,457.00 (per case limit)
Period Ending: 02/12/18                                                                                 Separate Bond: N/A

   1            2                           3                                            4                                              5                     6                  7

 Trans.     {Ref #} /                                                                                                               Receipts            Disbursements    Checking
  Date      Check #         Paid To / Received From                 Description of Transaction                     T-Code              $                      $       Account Balance
11/02/17                 WFG National Title Company        sale of real property                                                        15,000.00                                15,000.00
               {1}                                            gross sale price                    267,000.00       1110-000                                                      15,000.00
               {1}                                            buyer's premium                      15,000.00       1110-000                                                      15,000.00
              {12}          Madrona Estates HOA               buyer's credit toward                   577.61       1290-000                                                      15,000.00
                                                              HOA lien
                            Madrona Estates HOA               buyer's credit toward                    63.70       4120-000                                                      15,000.00
                                                              HOA lien
                            Wells Fargo Home Mortgage         payoff to 1st DOT                   -240,295.94      4110-000                                                      15,000.00
                            Madrona Estates HOA               payoff of HOA lien                      -777.59      4120-000                                                      15,000.00
                            City of Lacey                     payoff of utility lien                  -350.00      4120-000                                                      15,000.00
                            Rich Kim                          real estate commissions              -16,020.00      3510-000                                                      15,000.00
                            Madrona Estates HOA               HOA transfer fees                       -405.00      2500-000                                                      15,000.00
                            excise tax                        excise tax                            -5,029.60      2820-000                                                      15,000.00
                            closing costs                     closing costs                         -2,413.18      2500-000                                                      15,000.00
                            Dickson Mang Jr. and Devyna       relocation assistance                 -2,350.00      2990-000                                                      15,000.00
                            Aguon-Mang                        payment to debtor
01/16/18      101        Capital One Bank (USA) NA         Dividend paid 100.00% on $1,923.04; Claim#              7100-000                                    1,923.04          13,076.96
                                                           1; Filed: $1,923.04; Reference:
                                                           XXXX-XXXX-XXXX-7150
01/16/18      102        Boeing Employees Credit Union     Dividend paid 100.00% on $1,874.65; Claim#              7100-000                                    1,874.65          11,202.31
                                                           2; Filed: $1,874.65; Reference: 9871
01/16/18      103        Alaska USA Federal Credit Union   Dividend paid 45.62% on $13,593.99; Claim#              7200-000                                    6,202.32              4,999.99
                                                           3; Filed: $13,593.99; Reference:
                                                           XXXXXXXXX0001
01/16/18      104        Kathryn A. Ellis                  COMBINED CHECK FOR TRUSTEE                                                                          4,999.99                  0.00
                                                           COMPENSATION, EXPENSES AND
                                                           INTEREST
                                                              Dividend paid 100.00%                  4,887.17      2100-000                                                              0.00
                                                              on $4,887.17; Claim# ;
                                                              Filed: $17,378.88
                                                              Dividend paid 100.00%                   112.82       2200-000                                                              0.00
                                                              on $112.82; Claim# ;
                                                              Filed: $112.82

                                                                                       ACCOUNT TOTALS                                   15,000.00             15,000.00                $0.00
                                                                                             Less: Bank Transfers                             0.00                 0.00
                                                                                       Subtotal                                         15,000.00             15,000.00
                                                                                             Less: Payments to Debtors                                             0.00
                                                                                       NET Receipts / Disbursements                    $15,000.00           $15,000.00



{} Asset reference(s)                                                                                                                             Printed: 02/12/2018 09:58 AM        V.13.30
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                                                                                                                                                                  Exhibit 9


                                                                    Form 2                                                                                        Page: 2

                                               Cash Receipts And Disbursements Record
Case Number:        15-40334-BDL                                                     Trustee:            Kathryn A. Ellis (670270)
Case Name:          MANG JR., DICKSON USIM                                           Bank Name:          Rabobank, N.A.
                                                                                     Account:            ******6966 - Checking Account
Taxpayer ID #: **-***6887                                                            Blanket Bond:       $63,926,457.00 (per case limit)
Period Ending: 02/12/18                                                              Separate Bond: N/A

   1            2                       3                             4                                              5                     6                  7

 Trans.     {Ref #} /                                                                                            Receipts            Disbursements    Checking
  Date      Check #        Paid To / Received From      Description of Transaction              T-Code              $                      $       Account Balance


                                                                                                                        Net                Net                Account
                                                                    TOTAL - ALL ACCOUNTS                              Receipts        Disbursements           Balances

                                                                    Checking # ******6966                            15,000.00             15,000.00                 0.00

                                                                                                                    $15,000.00           $15,000.00                 $0.00




{} Asset reference(s)                                                                                                          Printed: 02/12/2018 09:58 AM        V.13.30
                        Case 15-40334-BDL            Doc 65      Filed 02/21/18             Ent. 02/21/18 15:55:48                             Pg. 7 of 7
